
		
				STATE v. RUTLEDGE2022 OK CR 8509 P.3d 625Case Number: S-2021-472Decided: 04/14/2022THE STATE OF OKLAHOMA, Appellant v. ROBERT WILLIAM RUTLEDGE, Appellee.
Cite as: 2022 OK CR 8, 509 P.3d 625

				

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SUMMARY OPINION




ROWLAND, PRESIDING JUDGE:


¶1 The State of Oklahoma appeals to this Court from an order of the reviewing judge affirming an adverse ruling of the preliminary hearing magistrate in Custer County District Court Case No. CF-2020-248.

¶2 On November 18, 2020, Appellee was charged with Domestic Abuse Assault and Battery, in violation of 21 O.S.Supp.2019, § 64421 O.S.Supp.2006, § 645

¶3 At preliminary hearing, the State presented evidence of the prior conviction and argued it was proper enhancement under 21 O.S.Supp.2019, § 644domestic abuse -- assault and battery with a dangerous weapon, in violation of Section 644(D), but a prior conviction for assault and battery with a dangerous weapon, in violation of Section 645. Associate District Judge Lance Schneiter upheld this decision.

¶4 The State's appeal was automatically placed on the accelerated docket of this Court pursuant to Rule 11.2(A)(4), Rules of the Oklahoma Court of Criminal Appeals, Title 22, Ch.18, App. (2022). The issues were presented in oral argument on January 20, 2022. At the conclusion of the argument, the parties were advised of this Court's decision to reverse the ruling of the magistrate.

ANALYSIS

¶5 The issue presented is one of statutory construction and is reviewed de novo. Smith v. State, 2007 OK CR 16157 P.3d 1155Leftwich v. State, 2015 OK CR 5350 P.3d 149Id.

¶6 According to Section 644(I),

For the purposes of subsections C and G of this section, any conviction for assault and battery against an intimate partner or a family or household member as defined by Section 60.1 of Title 22 of the Oklahoma Statutes shall constitute a sufficient basis for a felony charge:

1. If that conviction is rendered in any state, county or parish court of record of this or any other state.

The Appellee was charged with domestic assault and battery under 21 O.S.Supp.2019, § 644

¶7 The definition of an "intimate partner" includes "persons who are the biological parents of the same child, regardless of their marital status or whether they have lived together at any time." 22 O.S.Supp.2019, § 60.1

DECISION

¶8 The decision granting Appellee's demurrer is REVERSED and this matter is REMANDED to the District Court for proceedings not inconsistent with this opinion. Appellee's Objection to the Petition in Error and Motion to Dismiss are DENIED. Pursuant to Rule 3.15, Rules of the Oklahoma Court of Criminal Appeals, Title 22, Ch.18, App. (2022), the MANDATE is ORDERED issued upon the filing of this decision.


AN APPEAL FROM THE DISTRICT COURT OF CUSTER COUNTY
THE HONORABLE LANCE SCHNEITER,
ASSOCIATE DISTRICT JUDGE



	
		
			
			APPEARANCES AT TRIAL

			RYAN D. RECKER
			ATTORNEY AT LAW
			P.O. BOX 888
			WEATHERFORD, OK 73096
			COUNSEL FOR DEFENDANT
			
			
			APPEARANCES ON APPEAL

			ANGELA MARSEE
			DISTRICT ATTORNEY
			STACY HILL
			ASST. DISTRICT ATTORNEY
			P.O. BOX 36
			ARAPAHO, OK 73620
			COUNSEL FOR APPELLANT

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			STACY HILL
			ASST. DISTRICT ATTORNEY
			P.O. BOX 36
			ARAPAHO, OK 73620
			COUNSEL FOR STATE
			
			
			ARIEL PARRY
			OK INDIGENT DEFENSE
			P.O. BOX 926
			NORMAN, OK 73070
			COUNSEL FOR APPELLEE
			
		
	


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OPINION BY: ROWLAND, P.J.
HUDSON, V.P.J.: Concur
LUMPKIN, J.: Concur
LEWIS, J.: Concur



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